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                JANINA M. HOSKINS,
         7      Chapter 11 Trustee

         8                                 UNITED STATES BANKRUPTCY COURT

         9                                 NORTHERN DISTRICT OF CALIFORNIA
        10                                       SAN FRANCISCO DIVISION
        11      In re                                             Case No. 17-30501 DM
                                                                  Chapter 11
        12              BRUGNARA PROPERTIES VI,
                                                                  TRUSTEE’S REPORT UNDER
        13                     Debtor.                            BANKRUPTCY CODE § 1106(a)(5) AND
                                                                  RECOMMENDATION TO CONVERT
        14                                                        CASE TO A CASE UNDER CHAPTER 7
                                                                  OF THE BANKRUPTCY CODE
        15                                                        [11 U.S.C. § 1106(a)(5)]

        16                                                        Date:    March 30, 2018
                                                                  Time:    10:00 a.m.
        17                                                        Place:   450 Golden Gate Avenue, 16th Floor
                                                                           Courtroom 17
        18                                                                 Hon. Dennis Montali
                                                                           San Francisco, CA 94102
        19
        20

        21              Janina M. Hoskins, Chapter 11 Trustee of the estate of the above-named Debtor, hereby

        22      submits her Trustee’s Report Under Bankruptcy Code § 1106(a)(5) and Recommendation to

        23      Convert Case to a Case Under Chapter 7 of the Bankruptcy Code (“1106(a)(5) Report”), and

        24      respectfully represents:

        25      I.      SUMMARY OF REPORT

        26              This is the Debtor's fourth Chapter 11 filing. Three prior Chapter 11 filings were

        27      dismissed. The Debtor has no income. The Debtor relies on periodic refinancing of the Debtor's

        28      only asset, an improved parcel of real estate to fund payments to lenders and cure defaults, with

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         1      the assumption that the real estate market will inevitably increase and allow for further refinances.

         2      The Debtor has no business operations and generates no cash. 1 The Trustee has received no

         3      concrete or verifiable response to inquiries regarding sources of money for funding a plan or a

         4      refinance. Accordingly, the Trustee has concluded that this case should be converted to a case

         5      under Chapter 7 of the Bankruptcy Code.

         6      II.        JURISDICTION AND VENUE

         7                 This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. Venue

         8      is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The subject matter is a core proceeding under

         9      28 U.S.C. §§ 157(b)(1) and (b)(2)(A).
        10      III.       BACKGROUND

        11                 On May 22, 2017, the Debtor filed for relief under Chapter 11 of the Bankruptcy Code.

        12                 On August 21, 2017, the Debtor filed a plan of reorganization as Docket Entry No. 45.

        13      The Debtor filed an amended plan of reorganization on September 20, 2017 as Docket Entry No.

        14      58. A further amended plan was filed on November 29, 2017 as Docket Entry No. 82. A further

        15      amended plan was filed on January 3, 2018 as Docket Entry No. 95. Parties objected to the

        16      various versions of the plan. On January 5, 2018, the Court entered its Order Disapproving

        17      Combined Plan and Disclosure Statement as Docket Entry No. 97.

        18                 On January 12, 2018, the Court entered its Order Approving Appointment of Chapter 11

        19      Trustee approving the selection of Janina M. Hoskins as Chapter 11 Trustee (the "Trustee").
        20                 The Trustee has reviewed the Debtor’s financial condition, has met with the Debtor's

        21      principal and her counsel, and conducted a lengthy conference call with various junior

        22      lienholders. Further, the Trustee met with her accountants and analyzed other aspects of this case,

        23      including debt service that is necessary for the real property that is the primary asset of this estate:

        24      224 Sea Cliff Avenue, San Francisco, California (the "Property").

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                    The Debtor's principal pays utilities at the estate's real property where she lives.
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         1      IV.       RECOMMENDATION

         2                Under the terms of Bankruptcy Code Section 1106(a)(5) (11 U.S.C. § 1106(a)(5)), the

         3      Trustee

         4
                                 [a]s soon as practicable file a plan under Section 1121 of this title,
         5                       file a report of why the trustee will not file a plan, or recommend
         6                       conversion of the case to a case under Chapter 7 . . . of this title, or
                                 dismissal of the case.
         7

         8      Based on the Trustee’s investigation and information gathered from her accountant, the Trustee

         9      does not believe a plan is feasible; therefore, the Trustee recommends that this case be converted

        10      to a case under Chapter 7 of the Bankruptcy Code.

        11      V.        PRIOR BANKRUPTCIES

        12                The Debtor has filed three prior bankruptcy cases: in 2009 as Case No. 09-30038 DM, in

        13      2010 as Case No. 10-33637 DM and in 2014 as Case No. 14-31867 DM. The Trustee believes all

        14      three cases resulted in dismissals upon refinances or voluntary resolutions.

        15      VI.       CURRENT STATE OF DEBTOR’S AFFAIRS

        16                As noted, the Debtor filed for relief under Chapter 11 on May 22, 2017. After that filing,

        17      the Debtor filed eight monthly operating reports, beginning with the period ending May 31, 2017.

        18      For the periods ending May 31, 2017 and June 30, 2017, the Debtor listed no receipts and no

        19      disbursements. Beginning with the operating report for the period ending July 31, 2017, the

        20      Debtor began listing receipts based upon monies apparently deposited by the Debtor's principal

        21      into the Debtor's account and then used to pay the principal's personal living expenses, e.g.,

        22      utilities at the Property, together with payments to the United States Trustee for minimum

        23      quarterly fees of $325 per quarter. Copies of the monthly operating reports from the period

        24      ending May 31, 2017, through December 31, 2017, collectively, are annexed as Exhibit A to the

        25      Declaration of Janina M. Hoskins in Support of Trustee’s Report Under Bankruptcy Code §

        26      1106(a)(5) and Recommendation to Convert Case to a Case Under Chapter 7 of the Bankruptcy

        27      Code [11 U.S.C. § 1106(a)(5)] (the "Declaration").

        28      ///

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         1             Title reports that the Trustee has received differ on whether or not certain liens are listed.

         2      The Trustee has reviewed two title reports: one from January 2017 and another from December

         3      2017. The title reports differ as to whether they list or do not list tax liens. By way of a summary,

         4      the title reports noted the following:

         5                 1) April 12, 2017 - World Savings - approximately $6 million - first lien

         6                 2) November 16, 2016 - PSG Capital Partners, Inc. - $1,500,000

         7                 3) December 1, 2016 - California Home Loans - $300,000

         8                 4) January 26, 2017 - Franchise Tax Board - $6,159,000

         9                 5) January 16, 2017 - Franchise Tax Board - $190,000
        10             In addition to the above, the Trustee believes that there are liens asserted on behalf of the
        11      Internal Revenue Service in the approximate sum of $2,000,000.
        12             The Debtor, in its schedules, noted four liens:
        13                 1) World - now Wells Fargo Home Mortgage - approximately $6 million
        14                 2) Dakota Note LLC - $3,800,000
        15                 3) PSG Capital Partners Inc. - $1,200,000
        16                 4) Franchise Tax Board - listed at $0.00
        17             In its bankruptcy schedules, the Debtor valued the Property at $25 million.
        18             The Trustee, after gathering information from a real estate professional and from junior
        19      lienholders who have indicated that they have substantial experience in real estate transactions
        20      and lending, has concluded that the Property is not worth $25 million or anywhere near that sum.

        21      The Property needs trash removal and substantial maintenance and repairs based upon neglect and

        22      weather damage from sitting on a cliff, facing the Pacific Ocean.

        23      VII.   TRUSTEE'S RECOMMENDATION

        24             The Trustee is recommending that the case be converted to a case under Chapter 7 of the

        25      Bankruptcy Code. The Trustee, notwithstanding requests, has not received evidence of: (a) a firm

        26      commitment for refinance; or (b) assets sufficient to fund a plan of reorganization, including

        27      addressing loans that are both in arrears and accumulating substantial defaults. Based on
        28      information gathered from junior lienholders, the Trustee is informed and believes that debt
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         1      service for all of the notes, excluding tax liens, totals roughly $1 million per year. The Trustee is

         2      informed and believes, based on information gathered, that the first trust deed accrues interest at

         3      the sum of approximately $37,000 per month.

         4             From the best the Trustee can determine from visiting the Property, it suffers from

         5      substantial deferred maintenance and will continue to do so in the future. The Debtor has no

         6      income, no business but asserts that it should have acquired a business interest, but for the default

         7      of the lender. However, the reality is that you have a Property that has been refinanced multiple

         8      times, allowing it to "self-consume" any equity that accrued while, at the same time, letting the

         9      Property deteriorate.
        10      VIII. OUTSTANDING LITIGATION

        11             The Debtor has filed three adversary proceedings, as follows:

        12                 1) Adversary Proceeding No. 17-03048: Brugnara Properties v. PSG Capital

        13                     Partners Inc., a California corporation, Bill Fusco, and John De Vito - complaint

        14                     for damages, breach of contract, intentional misrepresentation;

        15                 2) Adversary Proceeding No. 17-03049: Brugnara Properties VI v. Dakota Note

        16                     LLC, a South Dakota limited liability company, Arick D. Amspacker, an

        17                     individual, and Paul Greenfield, an individual - complaint for damages (breach of

        18                     contract); and

        19                 3) Adversary Proceeding No. 17-03071: Brugnara Properties VI v. United States of
        20                     America, Department of the Treasury, Internal Revenue Service, State of

        21                     California, Franchise Tax Board - complaint to determine secured status, to avoid

        22                     lien for declaratory relief and permanent injunction, 11 U.S.C. § 506(a); 11 U.S.C.

        23                     § 105.

        24             The above adversary proceedings will need to be evaluated on their merits and either

        25      prosecuted, settled or abandoned.

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         1      IX.    VALUE OF PROPERTY / DISPOSITION

         2             The Trustee recognizes that the true value of the Property will not be known unless there

         3      is a willing buyer and a willing seller. The Trustee believes that she has a range of values and that

         4      value would be substantially less than the $25 million value asserted by the Debtor. Further,

         5      considering the history of this Debtor and its three prior Chapter 11 cases, assuming a refinance

         6      could be brought forward, the Trustee does not envision how the Debtor could meet the

         7      requirements under 11 U.S.C. § 1129(a)(11), requiring that confirmation of a plan is not likely to

         8      be followed by liquidation or a need for further reorganization.

         9             At the time of the lengthy conference call with junior lienholders in this case and their
        10      counsel, the Trustee learned that, according to the junior lienholders, the Debtor had agreed, at the
        11      time of a short-term loan, to sell the Property. Listing occurred and the Debtor was to prepare the
        12      Property for sale, including removing trash and taking other action. Apparently, money was
        13      likewise available for those purposes. However, the Debtor's principal failed to follow through
        14      with her commitment and, ultimately, filed for relief under Chapter 11 of the Bankruptcy Code.
        15      X.     CONCLUSION

        16             Notwithstanding statements before the Court that the sale of a painting will generate

        17      millions of dollars and thus solve the Debtor's problems (apparently by a voluntary contribution

        18      to the Debtor), and comments that a refinance can occur and/or funding can be provided, the

        19      Trustee has no concrete information that would substantiate the assertions. Further, the Trustee
        20      has a simple approach: if a painting can be sold to generate millions of dollars, why has that not

        21      occurred? Further, the Debtor generates no income. There are no funds available to pay minimum

        22      quarterly United States Trustee fees to keep this case in a Chapter 11 proceeding. The Trustee

        23      believes that converting the case and selling the Property is in the best interests of creditors and

        24      supported by creditors.

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         1             WHEREFORE, the Trustee prays for the entry of an order converting this case to a case

         2      under Chapter 7 of the Bankruptcy Code. In the alternative, if the Debtor can find a concrete and

         3      confirmable source of money to refinance and/or fund a plan of reorganization, subject to the

         4      concerns noted above, and assuming this can occur prior to the hearing on this report, the Trustee

         5      will consider that alternative.

         6
                DATED: March 2, 2018                     DENTONS US LLP
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         9                                               By:          /s/Michael A. Isaacs, Esq., CSBN 99782
                                                               MICHAEL A. ISAACS
        10                                                     Attorneys for JANINA M. HOSKINS,
        11                                                     Chapter 11 Trustee

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